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 1 JENNER & BLOCK LLP
   Reid J. Schar (pro hac vice)
 2 RSchar@jenner.com
   353 N. Clark Street
 3 Chicago, IL 60654-3456
   Telephone: (312) 222-9350
 4 Facsimile:     (312) 527-0484

 5 CLARENCE DYER & COHEN LLP
   Kate Dyer (Bar No. 171891)
 6 kdyer@clarencedyer.com
   899 Ellis Street
 7 San Francisco, CA 94109-7807
   Telephone: (415) 749-1800
 8 Facsimile:     (415) 749-1694

 9 CRAVATH, SWAINE & MOORE LLP
   Kevin J. Orsini (pro hac vice)
10 korsini@cravath.com
   825 Eighth Avenue
11 New York, NY 10019
   Telephone: (212) 474-1000
12 Facsimile:     (212) 474-3700

13 Attorneys for Defendant PACIFIC GAS AND
   ELECTRIC COMPANY
14
                              UNITED STATES DISTRICT COURT
15
             NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
16

17
     UNITED STATES OF AMERICA,                Case No. 14-CR-00175-WHA
18
                 Plaintiff,                   RESPONSE TO ORDER
19                                            REQUESTING INFORMATION ON
           vs.                                DIXIE AND BADER FIRES
20
   PACIFIC GAS AND ELECTRIC
21 COMPANY,                                   Judge: Hon. William Alsup

22               Defendant.

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 1          Defendant Pacific Gas and Electric Company (“PG&E”) respectfully submits this response

 2 to the Court’s July 21, 2021 order concerning the Dixie and Bader Fires. (Dkt. 1407)

 3
            PG&E shall file a statement under oath setting forth the full extent to which its equipment
 4          had any role in the start of the Dixie and Bader Fires earlier this month. Please include
            the names of all personnel who may have been witnesses or may have been on the scene
 5          soon after the fires began.

 6          Submitted herewith are data on the anomalies detected on the lines prior to the fires and

 7 declarations from personnel who, in the process of responding to those anomalies, witnessed the

 8 condition of the lines prior to or near the time of initiation. The names of additional employees

 9 who passed along information, dispatched troublemen to the site, inspected other facilities, and/or

10 arrived on scene after the fire was well underway are set forth in documents submitted with the

11 declarations.

12          In addition to the accompanying declarations, PG&E respectfully submits the below

13 summary of the information set forth in those declarations for the Court’s convenience. PG&E is

14 continuing to investigate the role of its equipment in the Dixie and Bader Fires; PG&E also is

15 cooperating with the ongoing investigations of law enforcement and Cal Fire.

16 The Dixie Fire

17          The Bucks Creek 1101 12kV Line is a three-phase circuit, with each phase carried on a

18 separate conductor. Dixie Troubleman Decl. (Ex. A) ¶ 7. The contemporaneous records reflect
19 that, at approximately 6:48 a.m. on July 13, 2021, a line recloser at the Bucks Creek substation for

20 the Bucks Creek 1101 Line recorded momentary current levels on two of the three phases in

21 excess of the Minimum To Trip (“MTT”). Recloser Witness 1 Decl. (Ex. B); see Recloser

22 Witness 2 Decl. (Ex. C); Recloser Witness 3 Decl. (Ex. D). Exceeding the MTT threshold for a

23 prescribed amount of time would have caused this line recloser to open or “trip,” resulting in de-

24 energization of all three phases of the line. Recloser Witness 1 Decl. (Ex. B). In this instance, the

25 duration of the excess current did not meet the requirements to trip the device. Id.

26          The Rock Creek Switching Center Operator Log Report (“Operator Log”) reflects that at

27 6:48 a.m., the Center received an automated notification of loss of power at the Cresta Dam,

28 located on Highway 70 in the Feather River Canyon at the end of the Bucks Creek 1101 Line, and
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 1 that the stand-by generator was running. Custodian 1 Decl. ¶ 3, Attach. 1 (Ex. E-1) (Operator

 2 Log).

 3           At about 7:21 a.m., a Hydro Operator at the Rock Creek Switching Center advised the

 4 Northern Distribution Control Center (“Control Center”) that “it seems like we lost AC power

 5 supply to our Cresta Dam,” and that a “rover” (a roving operator with experience in hydro

 6 operations) had been dispatched to the dam. 1 See Custodian 2 Decl. (Ex. F) ¶ 7. 2 According to

 7 the Operator Log, the roving operator went to the Cresta Dam; the log does not show the roving

 8 operator’s arrival time at the Cresta Dam, but it shows that he called in to report to the Switching

 9 Center at approximately 8:52 a.m. and 9:04 a.m. According to the log, at 8:52 a.m., the roving

10 operator reported that the Bucks Creek 1101 Line was out: lights were out in the nearby tunnel and

11 the Cresta Dam station service was out. See Custodian 1 Decl. ¶ 3, Attach. 1 (Ex. E-1) (Operator

12 Log).

13           At 9:07 a.m., the Hydro Operator called the Control Center to report on the roving

14 operator’s observations. Custodian 2 Decl. (Ex. F) ¶ 8. The Hydro Operator explained that the

15 roving operator had concluded the trouble was on the Bucks Creek 1101 Line, since the power

16 supply to the Dam was out but there was power at the Bucks Creek substation. Id. The Control

17 Center Operator asked if the roving operator had checked the fuses. Id. The Hydro Operator said

18 he did not know. Id. The Control Center Operator responded that he would send a troubleman.
19 Id.

20           According to the relevant records, at 9:36 a.m., a dispatcher created a non-emergency field

21 order, or “tag.” Custodian 2 Decl. ¶ 3, Attach. 1 (Ex. F-1) (Order Activity Report). The tag was

22 labeled Priority 1; under PG&E’s response policies, a priority one ticket should be addressed on

23 the same day it is assigned. Dixie Troubleman Decl. (Ex. A) ¶ 2. The records associated with the

24
     1
     Roving operators are responsible for checking station conditions, taking readings from
25 instruments, and performing certain operations. The qualifications for the roving operator position
   typically include experience as a journeyman hydro operator. The roving operator who responded
26 to the Cresta Dam on July 13, 2021 is out of the office through August 17, 2021.

27   2
    Excerpts of the cited calls are set forth in the Custodian 2 declaration. PG&E will provide the
28 Court with the audio recordings of the calls upon request.
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 1 tag show that the tag was initially assigned to a troubleman based in Quincy, CA. Custodian 2

 2 Decl. ¶ 3, Attach. 1 (Ex. F-1) (Order Activity Report). The Quincy troubleman responded that the

 3 tag should have been assigned to Chico or Paradise. Custodian 2 Decl. (Ex. F) ¶ 9; see id. ¶ 4,

 4 Attach. 2 (Ex. F-2) (Troubleman Workload Report). The records indicate that the tag was

 5 reassigned to a Chico service area troubleman at 10:47 a.m. Custodian 2 Decl. ¶ 4, Attach. 2 (Ex.

 6 F-2) (Troubleman Workload Report); id. ¶ 3, Attach. 1 (Ex. F-1) (Order Activity Report).

 7          The Chico troubleman received the tag at 10:47 a.m. Dixie Troubleman Decl. (Ex. A) ¶ 4;

 8 cf. Custodian 2 Decl. ¶ 4, Attach. 2 (Ex. F-2) (Troubleman Workload Report). At 10:53 a.m., the

 9 troubleman reported he was en route. Custodian 2 Decl. ¶ 4, Attach. 2 (Ex. F-2) (Troubleman

10 Workload Report). When the troubleman called the Control Center for further information on the

11 situation, he was given the following report by the Control Center Operator: “Rock Creek called

12 earlier and they were asking if we were having trouble on that Bucks Creek 1101, and I told them

13 no, not as far as I can tell, and so he sent his rover out there, and they do in fact not have any

14 station service. And he said that it’s something on our primary, because the tunnel—I think right

15 there at Cresta—he said is dark.” Custodian 2 Decl. (Ex. F) ¶ 10. They discussed two fuses that

16 might be at issue: Fuse 805 and Fuse 17733, and the difficulty of reaching the latter, which was up

17 a difficult mountain road. Id. The Control Center Operator said, “because the breaker’s closed, it

18 still has a good load, I don’t have any other indication of trouble, I would say it’s probably one of
19 those two fuses.” Id.

20          On the way to the Dam, the troubleman addressed another priority one ticket that he had

21 received at 10:28 a.m. Dixie Troubleman Decl. (Ex. A) ¶¶ 3, 5. He then proceeded to the Dam,

22 arriving there at approximately 12:30 p.m. Custodian 2 Decl. ¶ 4, Attach. 2 (Ex. F-2)

23 (Troubleman Workload Report); Dixie Troubleman Decl. (Ex. A) ¶ 6.

24          The troubleman was not able to access the power equipment at the Dam, because the area

25 containing the equipment was locked. Dixie Troubleman Decl. (Ex. A) ¶ 6. However, he could

26 see the equipment and was able to determine that Fuse 805 had not blown. Id. He walked to a

27 transformer one span away on the line that runs to the Dam. Id. The meter there was off,

28 indicating to him that the power was out. Id.
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 1           The troubleman then patrolled the area in an effort to discover the cause of the power

 2 outage. Id. ¶ 7. He did not see anything at the Dam that appeared to him to be the source of the

 3 outage. Id. Using his binoculars, he visually inspected the distribution line, the Bucks Creek 1101

 4 Line, running towards the source side device, fuse 17733, on the opposite side of the river. Id.

 5 All the poles and wires on the line appeared to him to be up and in their normal positions, not bent

 6 or twisted. Id. However, he saw what he believed to be a fuse hanging down from a pole on the

 7 circuit. Id. He believed that a hanging fuse would indicate that the fuse had operated and would

 8 need to be replaced. Id. He does not recall seeing any vegetation on the line or any smoke or

 9 other indication of a fire. Id. 3

10           He returned to his truck so that he could drive up the hill to inspect the possible hanging

11 fuse. Id. ¶ 8. To access the fuse, the troubleman had to drive down Highway 70, cross the river,

12 and then drive up a long, narrow unpaved access road. Id. The condition of the access road was

13 such that he was often able to drive no faster than approximately 3 miles per hour. Id.

14           About a mile or two from the location of the fuse, he encountered a Butte County road

15 crew performing maintenance work on the bridge, blocking access to the only road leading to the

16 fuse. Id. ¶ 9. Portions of the bridge decking appeared to him to be missing, and it appeared to him

17 to be impossible to drive across. Id. The crew informed him it would be about two hours before

18 he could pass. Id.
19           He then drove back down the access road to a location with cell service. Id. ¶ 10. At

20 approximately 3:00 p.m., he reached an area with cell service and saw that he had received two

21 priority zero emergency tags that were unrelated to the Cresta Dam tag. Id. He then called the

22 District Operator to ask if he should leave the area to attend to the priority zero tags or stay to

23 address the priority one tag. Id. The District Operator advised that other troublemen were closer

24

25

26   3
     When a fuse operates, or “blows,” it shuts off the power. Dixie Troubleman Decl. (Ex. A) ¶ 8.
   When a fuse operates on a power line, it hangs down like the one the troubleman believed he saw
27
   through the binoculars. Id. At a house, a switch can be thrown to turn a fuse back on; when a fuse
28 operates on a power line, it must be replaced with a new fuse. Id.
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 1 to the priority zero tags. Id. The District Operator advised the troubleman to go back when the

 2 crew was done and then “try to fix that fuse.” Custodian 2 Decl. (Ex. F) ¶ 11.

 3          The troubleman returned to the bridge, arriving at approximately 4:30 p.m.; it appeared to

 4 him that the County road crew had finished its work for the day. Dixie Troubleman Decl. (Ex. A)

 5 ¶ 11. There was a “road closed” sign before the bridge, but he decided to cross anyway because

 6 the repairs that had been made at that point appeared to him to be sufficient for him to cross safely

 7 in his truck. Id. He estimates he arrived at the pole at about 4:40 p.m. Id. ¶ 12. He saw that fuses

 8 on two of the phases/conductors were tripped, or open. Id. The fuse on the third phase remained

 9 closed. Id. As he exited the truck, he could smell smoke but assumed it was coming from the

10 Sugar Fire. Id. He got into the bucket of his truck to access the fuses in order to open the third

11 fuse to prevent “single phasing,” which can cause damage to equipment. Id. As he was going up

12 in the bucket, he could see a fire downhill from his position, about two-thirds of the way to the

13 next pole. Id. The fire was to the left side of the right of way and roughly 600 or 800 square feet

14 in an oval shape. Id. The near edge of the fire was not at the right of way; the far edge was

15 roughly 25 yards from the right of way. Id. He could also see a tree—later identified by a PG&E

16 arborist as a Douglas Fir—leaning against the line. Id. He did not see any breaks in the lines or

17 damage to other equipment. Id.

18          The troubleman opened the fuse on the third phase, then lowered his bucket to the ground,

19 and radioed the dispatch operators in Rocklin and Chico for help. Id. ¶ 13. At that time, he did

20 not hear a response on the radio, id.; however, the Rock Creek Switching Center Operator Log

21 Report reflects that a PG&E employee heard the radio call at 5:01 p.m. and notified Cal Fire at

22 5:06 p.m, Custodian 1 Decl. ¶ 3, Attach. 1 (Ex. E-1) (Operator Log).

23          Because he was not certain whether his call for help had been received, he decided to

24 attempt to fight the fire himself. Dixie Troubleman Decl. (Ex. A) ¶ 13. He took the fire

25 extinguisher from his truck and slid about 60-80 yards downhill to the fire. Id. He emptied the

26 fire extinguisher but was unable to put out the fire. Id. He climbed back up to his truck, where he

27 heard his supervisor trying to reach him on the radio. Id. He reported the fire to his supervisor,

28 who called 9-1-1. Id. He then took a pressurized water extinguisher and a McLeod tool from his
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 1 truck and continued to try to fight the fire. Id. After he emptied the pressurized water

 2 extinguisher, he attempted to dig a fire break near the access road. Id. The troubleman estimates

 3 that at this point the fire had grown to about 1,200 square feet. Id.

 4            The troubleman remained in the area and, at approximately 5:30 p.m., saw first a Cal Fire

 5 spotter plane and then a Cal Fire helicopter and fixed-wing aircraft arrive and begin suppressing

 6 the fire. Id. ¶ 14. At approximately 7:00 p.m., a four-person Cal Fire ground crew arrived. Id.

 7 One of the crew members informed the troubleman that an additional ground crew was on its way.

 8 Id. The Cal Fire truck was not able to cross the closed bridge, so the troubleman drove to the

 9 bridge in order to offer assistance in bringing the ground crew and their equipment to the fire. Id.

10 A PG&E transmission supervisor arrived while the troubleman was at the bridge; the troubleman

11 brought the transmission supervisor to the site of the fire. Id. The troubleman informed a Cal Fire

12 investigator of the two open fuses and the tree on the line. Id. Around the same time, a ten-person

13 Cal Fire ground crew arrived. Id. The troubleman asked if he could be of assistance, but was told

14 that his help was no longer needed. Id. The troubleman and transmission supervisor left the scene

15 at approximately 8:00 p.m. Id.

16            A PG&E arborist who visited the site on July 24, 2021 estimated that the stump of the tree

17 was approximately 40 feet from the line. Arborist Decl. (Ex. G) ¶ 2. The arborist identified the

18 tree as a Douglas Fir. Id. Photographs of the tree taken on July 18, 2021, are attached as Exhibits
19 J, K, L, and M. Exhibits J and K are pictures of the Douglas Fir taken while it was being removed

20 by Cal Fire. Exhibit L is a picture of burn marks on the tree after it was removed from the line by

21 Cal Fire. Exhibit M appears to show the stump of the tree. In addition to the four photographs

22 attached to this submission, PG&E is preparing a hard drive with additional photographs of the

23 suspected origin site that it will submit to the Court by August 4, 2021.

24 Bader Fire

25            The Bader Fire burned about a quarter acre on July 14, 2021, before it was suppressed by

26 Cal Fire. 4 PG&E’s records reflect that its system detected a partial power outage on the Paradise

27

28
     4
         See https://krcrtv.com/news/local/air-tankers-help-stop-fires-in-paradise-and-magalia.
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 1 1105 12kV Circuit on Bader Mine Rd at 2:48 p.m. and a troubleman was dispatched at 2:51 p.m.

 2 Custodian 2 Decl. ¶ 5, Attach. 3 (Ex. F-3) (Trouble Report); id. ¶ 6, Attach. 4 (Ex. F-4) (Outage

 3 Dispatch Tool). According to PG&E’s records, at 3:14 p.m., Butte County called PG&E

 4 regarding a wire down, and the troubleman—who was already en route—arrived at Fuse 1291 by

 5 3:22 p.m. Id. ¶ 5, Attach. 3 (Ex. F-3) (Trouble Report); id. ¶ 6, Attach. 4 (Ex. F-4) (Outage

 6 Dispatch Tool). The troubleman reports that he observed that one of the three fuses at this

 7 location had opened and the other two remained closed. Bader Troubleman #1 Decl. (Ex. H). The

 8 troubleman ascended the pole and opened the other two fuses for safety. Id. The troubleman

 9 estimates that the pole was approximately a half mile from Bader Mine Road, but he was not able

10 to see Bader Mine Road from that location. Id. The troubleman then drove to Bader Mine Road.

11 Id. When he arrived, he saw fire engines and Cal Fire vehicles. Id. Any fire that had been in the

12 vicinity appeared to him to have been suppressed by the time he arrived. Id.

13          A second PG&E troubleman was asked to go to Bader Mine Road. Bader Troubleman #2

14 Decl. (Ex. I) ¶ 2. When he arrived, at approximately 3:45 p.m., he saw two fire engines and two

15 Cal Fire pickup trucks on the scene and it appeared to him that the fire had been suppressed. Id.

16 The troubleman observed that the area was covered with suppressant that appeared to him to have

17 been dropped from the air. Id. He observed a tree on a two-phase section of the line—one phase

18 had snapped, and the tree was leaning on the other phase. Id. ¶ 3. To make the area safe until the
19 line could be repaired, the troubleman requested permission from a Cal Fire investigator to cut the

20 phase that had snapped and to cut the tree off of the other phase. Id. The Cal Fire investigator

21 granted permission, and the troubleman then trimmed the snapped phase around the adjacent poles

22 so that the broken line would hang at least 10 feet above the ground. Id. He also cut the tree off

23 of the other phase with a saw. Id. He did not observe any damage to any pole or to any line other

24 than the phase that had snapped. Id.

25          A PG&E arborist visited the site the following day, July 15, 2021. Arborist Decl. (Ex. G)

26 ¶ 3. The portion of the tree that fell into the line was one stem of a two stemmed Black Oak. Id.

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 1 The stump of the Black Oak was approximately 60 feet from the line, and the broken stem was

 2 approximately 11 inches in diameter. Id. Photographs of the tree taken by the arborist are

 3 attached to his declaration. As depicted in the photographs, affixed to the bottom of the tree was a

 4 bar code with the words “Camp Fire Tree Removal Project,” which may refer to post-Camp Fire

 5 tree removal work coordinated by the California Office of Emergency Services. Id. ¶¶ 3-4. The

 6 last three digits of the bar code appear on the tree in blue paint, and the tree had other blue paint

 7 marks. Id. Attachs. 1-6 (Exs. G-1 to G-6). PG&E does not use bar codes as part of its standard

 8 vegetation management marking system. Id. ¶ 3.

 9

10 Dated: July 28, 2021                                     Respectfully submitted,

11                                                          JENNER & BLOCK LLP

12                                                          By:    /s/ Reid J. Schar
                                                                   Reid J. Schar (pro hac vice)
13
                                                            CRAVATH, SWAINE & MOORE LLP
14
                                                            By:    /s/ Kevin J. Orsini
15                                                                 Kevin J. Orsini (pro hac vice)
16                                                          CLARENCE DYER & COHEN LLP
17
                                                            By:    /s/ Kate Dyer
18                                                                 Kate Dyer (Bar No. 171891)
19
                                                            Attorneys for Defendant PACIFIC GAS AND
20                                                          ELECTRIC COMPANY
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